Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

—---— ee —— aoe een HX
ADAM ROEDER, individually, and on
behalf of all others similarly situated

Plaintiff,
-against-
DOCKET NO. 20-cv-6200
COLLECTION BUREAU OF THE HUDSON
VALLEY, INC., A New York corporation,

Defendant.

 

 

DEFENDANT’S REPLY MEMORANDUM OF LAW
IN SUPPORT OF DEFENDANT’S MOTION TO
DISMISS PLAINTIFF’S COMPLAINT PURSUANT
TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(1)

ARTHUR SANDERS, ESQ.
BARRON & NEWBURGER, P.C.
Attorney for defendant
30 South Main Street
New City, NY 10956
845-499-2990

 

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 2 of 9

TABLE OF CONTENTS
PAGE

I. THERE IS NO DISPUTE THAT AAPC SEVERED THE 1
UNCONSTITUTIONAL GOVERNMENT DEBT EXCEPTION
FROM THE TCPA BUT THAT IS NOT THE ISSUE RAISED
BY THIS MOTION TO DISMISS

Il. THE CASES CITED BY PLAINTIFF DO NOT ADDRESS THE ISSUE 5
RAISED IN THIS MOTION

I CONCLUSION 6

TABLE OF STATUTES

 

 

PAGE
U.S. Constitution, Article IIT, Sec. 2 . 3
47 U.S.C. § 227(b)(1)(A)(iii) 1, 2,3,4

TABLE OF AUTHORITIES
PAGE

Barr v. American Association of Political Consultants, Inc., 2, 3,4,5
140 S. Ct. 2335, 2346 (2020)
Creasy v. Charter Comme’ns., Inc., 2020 Dist. LEXIS 177798 4,5
(E.D. La. Sept. 28, 2020)
Harper v. Va. Dep’t of Taxation, 509 U.S. 86 (1993) 5
Hussain v. Sullivan Buick-Cadillac-GMC Truck, Inc., 2020 4,5

U.S. Dist. LEXIS 236577 (M.D. Fl. Dec. 11, 2020).

Lindenbaum v. Realgy, 2020 U.S. Dist. LEXIS, (N.D. Ohio Oct. 29, 2020 4,5
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 3 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ADAM ROEDER, individually, and on
Behalf of all others similarly situated,

Plaintiff,
-against-
DOCKET NO. 20-CV-6200
COLLECTION BUREAU OF THE HUDSON
VALLEY, INC., a New York Corporation,

Defendant.

 

Xx

I. THERE IS NO DISPUTE THAT AAPC SEVERED THE UNCONSTITUTIONAL
GOVERNMENT DEBT EXCEPTION FROM THE TCPA BUT THAT IS NOT
THE ISSUE RAISED BY THIS MOTION TO DISMISS.
Plaintiff has missed the point raised by Defendant in its Motion to
Dismiss. Defendant does not dispute that the Supreme Court in Barr v. American
Association of Political Consultants, Inc., 140 S. Ct. 2335, 2346 (2020) (“AAPC”) held
that 47 U.S.C. § 227(b)(1)(A)(iii) was unconstitutional as a content-based suppression
on speech since it excepted, and thereby favored, government-debt from the
restrictions on robocalls contained 47 U.S.C. § 227(b)(1)(A)(iii) or that the Supreme
Court in AAPC resolved that issue by severing the government-debt exception from
47 U.S.C. § 227(b)(1)(A)(iii) thereby leaving the remainder of § 227 (b)(1)(A) (ii) intact.
The issue addressed by this Motion is whether Defendant should be
subject to the restrictions of § 227(b)(1)(A)(iii) regarding any robocalls that it may have

made during the same period when government-debt was not subject to those same

restrictions. The Supreme Court in AAPC did not address that issue but rather

 

1|Page

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 4 of 9

limited its holding to the constitutionality of the government-debt exception and the
severance of the government-debt exception from § 227(b)(1)(A)(iii) without providing
any guidance as to how the severance affects the various parties subject to §
227(b)(1)(A) (iii). That issue was only addressed by Justices Kavenaugh and Gorsuch
in their separate opinions. Neither of those opinions was adopted by a majority of the
Court in reaching its limited holdings.

Justice Kavanaugh stated: “Six members of the Court today conclude
that Congress has impermissibly favored debt-collection speech over political and
other speech, in violation of the First Amendment...Applying traditional severability
principles, seven Members of the Court conclude that the entire 1991 robocall
restriction should not be invalidated, but rather that the 2015 government-debt
exception must be invalidated and severed from the remainder of the statute.” 140
S.Ct. at 2343. Defendant does not question the validity of either holding by this
Motion, however, it is clear that neither holding reflects Justice Kavanaugh’s
comments in footnote 12 of his opinion.

As discussed in Defendant’s opening brief, Justice Kavanaugh stated in
footnote 12 of the opinion: “As the Government acknowledges, although our decision
means the end of the government-debt exception, no one should be penalized or held
liable for making robocalls to collect government debt after the effective date of the
2015 government-debt exception and before the entry of the final judgment by the
District Court on remand in this case, or such date that the lower courts determine
is appropriate...On the other side of the ledger, our decision today does not negate
the liability of parties who made robocalls covered by the robocall restriction.” AAPC,

140 S. Ct. at 2355. This comment in footnote 12 was only joined by two other
2|Page

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 5 of 9

justices—Justices Alito and Roberts—and not by the majority.

The problem with Justice Kavanaugh’s comments in footnote 12 is that
the collectors of government-debt would not be subject to the restrictions on robocalls
contained in § 227(b)(1)(A)(iii) at the same time that other robocallers—such as
Defendant—were limited by those restrictions. If it is accurate to say regarding
unconstitutional language that “[o]nce severed, it is as if the amendment was never
passed by Congress; the legal effect of a severed amendment is, therefore, necessarily
retroactive” as Plaintiff argues in his Opposition at p.7, then how can it be rationalized
that no government-debt collectors “should be penalized or held liable for making
robocalls to collect government debt after the effective date of the 2015 government-
debt exception” and prior to AAPC. Either the unconstitutional exception was severed
as if it never had existed as Plaintiff argues and collectors of government-debt are
subject to liability for robocalls despite the unconstitutional 2015 amendment to §
227(b)(1)(A) (iii) or the exception remained in effect for government-debt collectors until |
the AAPC holding and despite the AAPC holding. Accordingly, Defendant—
presumably being treated equally under the same law as the government-debt
collectors—must also be excepted from liability for any robocalls that it may have
made following the 2015 amendment and prior to the AAPC decision.

It is precisely that point that Justice Gorsuch made with Justice Thomas
joining when he observed in a separate opinion that “by shield[ing] only government-
debt collection callers under an admittedly unconstitutional law, [the comments in
footnote 12] wind up endorsing the very same kind of content discrimination”
severance is “seeking to eliminate.” Jd. at 2366. [Emphasis in original.] Justices

Gorsuch and Thomas did not advocate that robocalls should not be regulated nor
3|Page

 

 

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 6 of 9

does Defendant but they took the position that equal justice required that all
robocallers be treated equally and fairly. Thus, Justice Gorsuch took the position
that if government-debt collectors were excepted from liability for any robocall
violations for the period from 2015 to the AAPC ruling, all debt collectors or any other
persons making robocalls during that period must also be excepted from the
restrictions of § 227(b)(1)(A)(iii). Defendant only wants to be treated equally and fairly
under the law. The district courts in Creasy v. Charter Commce’ns., Inc., 2020 Dist.
LEXIS 177798 (E.D. La. Sept. 28, 2020); Lindenbaum v. Realgy, 2020 U.S. Dist.
LEXIS, (N.D. Ohio Oct. 29, 2020); and Hussain v. Sullivan Buick-Cadillac-GMC Truck,
Inc., 2020 U.S. Dist. LEXIS 236577 (M.D. Fl. Dec. 11, 2020) appreciated the
inconsistency of Justice Kavanaugh’s comments in footnote 12 that the government-
debt was being unconstitutionally favored when it was not constrained by§
227(b)(1)(A)(iii) while all others were subject to its restrictions regarding robocalls, yet
suggested that government-debt robocallers were not liable for violating §
227 (b)(1)(A)(iii) while all other robocallers were subject to the restrictions contained
in § 2277(b)(1)(A)(iti).

The Supreme Court did not resolve this issue in AAPC. The most that
can be said is that five of the nine Supreme Court justices are split 3-2 on this issue—
Justices Kavanaugh, Alito and Roberts on one side and Justices Gorsuch and Thomas
on the other—however, that is far from a clear indication of the Supreme Court would
rule on this issue if it was presented to the Court despite Plaintiff's comments to the
contrary in his Opposition.

Any suggestion by Plaintiff that Justices Kavanaugh’s comments in

footnote 12 of the AAPC decision represent the majority opinion of the Supreme Court
4|Page

 

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 7 of 9

in AAPC are misguided. Only Justices Roberts and Alito joined with Justice
Kavanaugh in his opinion that included footnote 12. Defendant as well as Justices
Gorsuch and Thomas and the district courts in Creasy, Lindenbaum and Hussain ,
supra, only take issue with the enforcement of the restrictions on robocalls following
the 2015 amendment as to some callers such as Defendant while simultaneously
failing to enforce the same restrictions as to government-debt callers as Justice
Kavanaugh urged in footnote 12 and not with the plurality holdings in AAPC.

Plaintiffs reliance on Harper v. Va. Dep’t of Taxation, 509 U.S. 86 (1993)
does not support his argument. The Supreme Court in Harper in language cited by
Plaintiff to this Court held: “[oJur approach to retroactivity heeds the admonition that
‘the Court has no more constitutional authority in civil cases than in criminal cases
to disregard current law or to treat similarly situated litigants differently.” Id. at 97.
Plaintiff Opposition at p. 8. [Emphasis added.] But that is exactly what Plaintiff asks
this Court to do: while government-debt robocallers are excepted from liability for
robocalls made from 2015 to 2020, he argues that Defendant and other robocallers
should be bound by the those same restrictions on robocalls contained in §
227(b)(1)(A)(iii) during that same time period.

That position clearly violates equal treatment under the law and just as

clearly should not be used to enforce his claims in this lawsuit.

II. THE CASES CITED BY PLAINTIFF DO NOT ADDRESS THE ISSUE RAISED
IN THIS MOTION

The cases cited by Plaintiff do not even attempt to address the concerns raised by

 

 

5|Page

 
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 8 of 9

Justice Gorsuch that it is inherently unfair to treat two different groups of callers
differently for the same conduct especially when one group’s standard was determined to
be unconstitutional for exactly that reason—that it was receiving preferential treatment
under the law. Those cases simply note—as does Plaintiff in his Opposition—that that
the Supreme Court determined that the government-debt exception in § 227(b)(1)(A) (ii)
was unconstitutional and that the exception was severed from the remainder of the TCPA
leaving the TCPA and specifically§ 227(b)(1)(A)(iii) otherwise intact . There is no
discussion in those cases whether it is appropriate that collectors of non-government-debt
should be treated differently for their robocalls from 2015 to 2020 than government-debt
collectors, i.e. that robocallers during that time period are not liable for violations of §
227(b)(1)(A)(Gii) while all other robocallers are, nor does Plaintiff claim that there is any
such resolution of that issue in any of the cases that he has cited. Instead, Plaintiff ignores
the issue as do the courts whose opinions that he has cited and simply falls back on the
assumption that severing the unconstitutional language alone resolves the unequal
treatment

It is respectfully submitted under the law issue when it does not. It just kicks
the can down the street and avoids a proper resolution of the issue.

The district courts in Creasy, Lindenbaum and Hussain , supra, did address
the issue raised by Justice Gorsuch that all persons making robocalls while §
227(b)(1)(A)(iii) was in effect prior to the AAPC holding should be treated equally and
dismissed the TCPA claims for the period that was the 2015 amendment to §
227(b)(1)(A)Gii) was in effect. All that is asked is that this Court should enforce the law
equally to Defendant as it would if presented with a government-debt case arising out of

robocalls made prior to the holding in AAPC.

I. CONCLUSION
That this Court grant this Motion to Dismiss.

 

6|Page
Case 7:20-cv-06200-JCM Document 28 Filed 01/29/21 Page 9 of 9

Dated: New City, NY
January 29, 2021

 

ARTHUR SANDERS, ESQ.
BARRON & NEWBURGER, P.C.
Attorneys for defendant

30 South Main Street

New City, NY 10956

TO:

AVI KAUFMAN, ESQ.
KAUFMAN, P.A.
Attorney for plaintiff
400 NW 26% Street
Miami, FL 33127

STEFAN LOUIS COLEMAN, ESQ.

LAW OFFICES OF STEFAN COLEMAN, LLC
Attorneys for plaintiff

5 Penn Plaza, 234 Floor

New York, NY 10001

 

7|Page

 

 
